       Case: 1:20-cv-04911 Document #: 8 Filed: 08/21/20 Page 1 of 3 PageID #:65




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


EMOJI COMPANY GmbH,

       Plaintiff,
                                                    Case No. 20-cv-4911
v.
                                                    Judge John Robert Blakey
THE INDIVIDUALS, CORPORATIONS,
LIMITED LIABILITY COMPANIES,
PARTNERSHIPS, AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE A HERETO,

       Defendants.



 PLAINTIFF’S EX PARTE MOTION FOR ENTRY OF A TEMPORARY RESTRAINING
  ORDER, INCLUDING A TEMPORARY INJUNCTION, A TEMPORARY TRANSFER
   OF THE DEFENDANT DOMAIN NAMES, A TEMPORARY ASSET RESTRAINT,
    EXPEDITED DISCOVERY, AND SERVICE OF PROCESS BY EMAIL AND/OR
                       ELECTRONIC PUBLICATION


        Plaintiff, EMOJI COMPANY GmbH (“Plaintiff”), seeks entry of an ex parte temporary

 restraining order, including a temporary injunction against Defendants enjoining the

 manufacture, importation, distribution, offering for sale, and sale of Counterfeit EMOJI Products,

 a temporary transfer of the Defendant Domain Names, a temporary asset restraint, expedited

 discovery, and service of process by email and/or electronic publication in an action arising out

 of 15 U.S.C. § 1114; Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a) and the Illinois

 Uniform Deceptive Trade Practices Act, 815 ILCS § 510. A Memorandum of Law in Support is

 filed concurrently with this Motion.
     Case: 1:20-cv-04911 Document #: 8 Filed: 08/21/20 Page 2 of 3 PageID #:66




                               Respectfully submitted,
Dated: August 21, 2020
                               By:    s/Michael A. Hierl             _
                                      Michael A. Hierl (Bar No. 3128021)
                                      William B. Kalbac (Bar No. 6301771)
                                      Hughes Socol Piers Resnick & Dym, Ltd.
                                      Three First National Plaza
                                      70 W. Madison Street, Suite 4000
                                      Chicago, Illinois 60602
                                      (312) 580-0100 Telephone
                                      (312) 580-1994 Facsimile
                                      mhierl@hsplegal.com

                                      Attorneys for Plaintiff
                                      EMOJI COMPANY GmbH




                                         2
      Case: 1:20-cv-04911 Document #: 8 Filed: 08/21/20 Page 3 of 3 PageID #:67




                                CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that a true and correct copy of the foregoing

Motion was filed electronically with the Clerk of the Court and served on all counsel of record

and interested parties via the CM/ECF system on August 21, 2020.




                                                     s/Michael A. Hierl




                                                3
